                  Case 3:21-cr-00220-VAB Document 601 Filed 04/28/23 Page 1 of 2
                                                                                                      Crim-Trial (4/2/12)
                                                     HONORABLE: Victor A. Bolden
                        DEPUTY      CLERK Tatihana Murphy     RPTR/ECRO/TAPE Sharon Montini
TOTAL TIME:              hours 5   minutes         USPO                  INTERPRETER
                           DATE: 4/28/2023            START TIME: 8:54AM       END TIME: 8:59AM
                                                    LUNCH RECESS FROM:               TO:
                                           RECESS (if more than ½ hr) FROM:          TO:

CRIMINAL NO. 3:21-cr-220 VAB                    Deft # 1-6


                 UNITED STATES OF AMERICA                                   D. Huang, T. Sebrow, C. Syme
                                                                            AUSA
                            vs
                             Patel et al                                   see notes
                                                                            Defendant’s Counsel

                                           CRIMINAL JURY/COURT TRIAL

  ........   Jury of 14       and 2         alternates report     Jury sworn.
  ........      Juror #                   excused     Alternates excused
  ........   Deft                        Failed to appear. Bench warrant issued.
  ........      Jury Trial held     Jury Trial continued until             at
  ........      Court Trial begun Court Trial held         Court Trial continued until
  ..#        Deft                       motion                                    granted    denied      advisement
  ..#        Deft                       motion                                    granted    denied      advisement
  ..#        Deft                       motion                                    granted    denied      advisement
  ..#        Deft                       motion                                    granted    denied      advisement
  ..#        Govt’s motion                                                        granted   denied      advisement
  ..#        Govt’s motion                                                       granted    denied      advisement
  ........   Deft                oral motion                                     granted     denied      advisement
  ........   Deft                oral motion                                     granted     denied      advisement
  ........   Govt’s oral motion to Stay Judgment of Acquittal & Jury Dismissal   granted    denied      advisement
  ........   Govt’s oral motion                                                  granted    denied       advisement
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........      Government rests Defendant                                rests
  ........      Summation held       Court’s Charge to the Jury
  ........   All full exhibits,   Indictment     Information    Verdict form handed to the Jury
  ........   Jury commences deliberations at
  ........   Court orders Jury to be fed at Govt expense (bill w/copy of minutes to Finance)
  ........   SEE      page II for additional entries
  ........   Copy to: JURY CLERK with daily juror attendance sign-in sheet
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                                CRIMINAL JURY/COURT TRIAL (continued)

  .........   Court declares MISTRIAL as to Defendant
  .........   Jury Verdict filed
  .........   Oral Verdict
  .........   Court Verdict
  .........      guilty as to Deft                                 as to counts
  .........      guilty as to Deft                                 as to counts
  .........      guilty as to Deft                                 as to counts
  .........      guilty as to Deft                                 as to counts
  .........      not guilty as to Deft                             as to counts
  .........      not guilty as to Deft                             as to counts
  .........      not guilty as to Deft                             as to counts
  .........      not guilty as to Deft                             as to counts
  .........   Court accepts verdict and orders verdict verified and recorded
  .........   Jury polled
  .........   Sentencing set                        at                as to Deft
  .........   Sentencing set                        at                as to Deft
  .........   Prob 246B Order for PSI & Report
  .........   Bond     set for $                  Non-surety Surety PR as to Deft
  .........   Bond     set for $                  Non-surety Surety PR as to Deft
  .........   Bond     revoked      reinstated    continued as to Deft
  .........   Bond     reduced      increased to $                 Non-surety Surety    PR as to Deft
  .........   Bond     reduced      increased to $                 Non-surety Surety    PR as to Deft
  .........   Deft                                         REMANDED to custody
  .........   Deft                 oral motion to remain on bond pending sentencing  granted    denied      adv.
                                                        NOTES OR
                                        MISCELLANEOUS PROCEEDINGS

* Notes- DEFENSE COUNSEL: Dillon, Knauer, Moisa, Felsen, Rosenthal, Klingman, Cahill, Gillen, Ladd-Smith,

Lake, Moriarty, Spears, Weinstein, McConnell, Petrillo, Sandlar, Stephens, Wenstein, Albert.
